            Case 3:21-cv-00656-HZ     Document 71      Filed 05/08/23     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON




DANIELLE PRANGER and GARRETT                                 No. 3:21-cv-00656-HZ
HARRIS, individually and on behalf of
all others similarly situated,                               JUDGMENT

                      Plaintiffs,

       v.

OREGON STATE UNIVERSITY, a public
body of the State of Oregon

                      Defendant.

HERNÁNDEZ, District Judge:

       Based on the record, IT IS ORDERED AND ADJUDGED that judgment is entered in favor

of Defendant. Pending motions, if any, are denied as moot.



                   May 8, 2023
       DATED:____________________________.



                                                   ____________________________________
                                                   MARCO A. HERNÁNDEZ
                                                   United States District Judge



1 – JUDGMENT
